             Case 20-60030 Document 225 Filed in TXSB on 07/10/20 Page 1 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

    In re:                                                   §                         Chapter 7
                                                             §
    Q’MAX AMERICA, INC., et al 1                             §               Case No. 20-60030-CML
                                                             §
              Debtors.                                       §                  Jointly Administered


         ORDER ESTABLISHING PROCEDURES FOR DE MINIMIS ASSET SALES


             Upon the motion (“Motion”)2 of Christopher R. Murray, Chapter 7 Trustee (“Trustee”)

for the above-captioned debtors and debtors in possession (collectively, “Debtors”) for entry of

an order (this “Order”): authorizing and approving procedures for de minimis asset sales; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; having found that this

is a core proceeding pursuant to 28 U.S.C. § 157(b) and that this Court may enter a final order

consistent with Article III of the United States Constitution; having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

having found that the relief requested in the Motion is in the best interests of the estates, their

creditors, and other parties in interest; having found that the Trustee’s notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; having reviewed the Motion; having heard the statements in support of

the relief requested within the Motion at a hearing before this Court (“Hearing”);3 and having


1
      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification numbers
      are: Q’Max America Inc. (2319) and Anchor Drilling Fluids USA, LLC (5395).
2
      Capitalized terms used by not otherwise defined herein have the meanings ascribed to them in the Motion.
3
 At the hearing, the Court announced that it would delay signing this order until July 15, 2020. Until that time, any
party in interest may object to the relief requested and the Court will set a hearing on that objection for July 15, 2020
at 1:00 p.m.
        Case 20-60030 Document 225 Filed in TXSB on 07/10/20 Page 2 of 6




determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; it is HEREBY ORDERED THAT:

       1.        The Trustee is authorized pursuant to sections 363 and 105(a) of the Bankruptcy

Code to sell the De Minimis Assets in accordance with the following procedures (collectively,

the “De Minimis Transaction Procedures”):

            a.     Non-Noticed Sales: For property that, in the Trustee’s good faith determination,
                   has a fair market value of less than $100,000 and is proposed to be sold in a
                   transaction, or in a series of related transactions (a “Non-Noticed
                   Transaction”):

                   i.      Business Judgment Standard: The Trustee is authorized to consummate
                           the sale of such property without further order of the Bankruptcy Court
                           or notice to any party if the Trustee determines in a reasonable exercise
                           of his business judgment that such a sale is in the best interest of the
                           Debtors’ estates; provided, that to the extent reasonably practicable, the
                           Trustee will provide e-mail notification to counsel to HSBC Bank
                           Canada and KPMG three (3) business days prior to the consummation
                           of such sale.

                   ii.     Sale Free and Clear: Any such sale of property shall be free and clear
                           of all liens, claims, and encumbrances (“Liens”), with any valid and
                           properly perfected Liens attaching only to the sale proceeds with the
                           same validity, extent, and priority as immediately prior to the Non-
                           Noticed Transaction.

                   iii.    Good Faith Purchaser: Each purchaser of property pursuant to such a
                           sale will be afforded the protections of section 363(m) of the Bankruptcy
                           Code as a good faith purchaser.

                   iv.     Non-Noticed Transaction Reports: Within 30 days of each quarterly
                           period, commencing with the period ending July 31, 2020, the Trustee
                           will file with the Bankruptcy Court a report summarizing any Non-
                           Noticed Transactions that were completed pursuant to the De Minimis
                           Transaction Procedures during the immediately preceding quarter, and
                           serve it on (i) the U.S. Trustee, (ii) counsel to HSBC Bank Canada, (iii)
                           counsel to KPMG; (iv) the United States Attorney’s Office for the
                           Southern District of Texas, and (v) all known parties holding or
                           asserting liens, claims, encumbrances or other interests in the assets
                           being sold and their respective counsel, if known (collectively, “Notice
                           Parties”). With respect to each applicable Non-Noticed Transaction,
                           each quarterly report shall identify: (a) the De Minimis Assets sold; (b)
Case 20-60030 Document 225 Filed in TXSB on 07/10/20 Page 3 of 6




               a summary of the reasons for selling or purchasing such De Minimis
               Assets; (c) the entity who sold the De Minimis Assets; (d) the sale price
               for such De Minimis Assets; and (e) any broker or auctioneer that
               advised or assisted the Debtors with such transactions and any fees paid
               to such party in connection with such transactions.

  b.    Noticed Asset Transactions: For property that, in the Debtors’ good faith
        determination, has a fair market value equal to or greater than $100,000 and
        less than or equal to $1,000,000, and is proposed to be sold in a transaction, or
        in a series of related transactions (each, a “Noticed Transaction”):


        i.     Business Judgment Standard: The Trustee is authorized to consummate
               such a sale without further order of the Bankruptcy Court, subject to the
               procedures set forth herein, if the Trustee determines in a reasonable
               exercise of his business judgment that such a sale is in the best interest
               of the Debtors’ estates.

        ii.    Sale Free and Clear: Any such sale shall be free and clear of all Liens,
               with any valid and perfected Liens attaching only to the sale proceeds
               with the same validity, extent, and priority as immediately prior to the
               Noticed Transaction.

        iii.   Good Faith Purchaser: Each purchaser of property to such a sale will be
               afforded the protections of section 363(m) of the Bankruptcy Code as a
               good faith purchaser.

        iv.    Transaction Notice: The Trustee shall, at least seven (7) days prior to
               closing such sale, serve a written notice of such sale by e-mail,
               facsimile, or overnight delivery service (each notice, a “Transaction
               Notice”) to the Notice Parties, which Transaction Notice shall consist
               of:

                   1. identification of the De Minimis Asset being sold;

                   2. identification of the purchaser of the De Minimis Asset and any
                      relationship such party has with the Debtors;

                   3. identification of any parties known to the Trustee as holding
                      Liens on the property being sold and a statement indicating
                      whether (i) all such Liens are capable of monetary satisfaction,
                      or (ii) the holders of such Liens have consented to the sale;

                   4. the sale price;

                   5. any other significant terms of the sale;
        Case 20-60030 Document 225 Filed in TXSB on 07/10/20 Page 4 of 6




                               6. the date and time within which objections must be filed with the
                                  Bankruptcy Court and served on the Trustee; and

                               7. any broker or auctioneer that advised or assisted the Trustee with
                                  such transaction and any fees paid or to be paid to such party in
                                  connection with such transaction.

                   v.      Objection Procedures: Parties objecting to a Noticed Transaction must
                           file and serve a written objection so that such objection is filed with the
                           Bankruptcy Court no later than ten business days after the date the
                           Trustee serve the relevant Transaction Notice.

                   vi.     No Objection: If no objection to a Noticed Transaction is timely filed
                           by any of the Notice Parties within ten business days after service of
                           such Transaction Notice, the Trustee is authorized to immediately
                           consummate such Noticed Transaction.

                   vii.    Unresolved Objections: If a timely objection is filed and not withdrawn
                           or resolved, the Trustee shall file a notice of hearing to consider the
                           unresolved objection, and such hearing shall be held on an expedited
                           basis. If such objection is overruled or withdrawn, or if the sale of De
                           Minimis Assets is specifically approved by further order of the
                           Bankruptcy Court.

                   viii.   Sale Pursuant to Motion. For property that, in the Trustee’s good faith
                           determination, has a fair market value greater than $1,000,000, and is
                           proposed to be sold in a transaction, or in a series of related transactions,
                           the Trustee shall seek authority to sell such property pursuant to a
                           motion and in accordance with the Bankruptcy Code, Bankruptcy Rules,
                           and Local Rules.

       2.       The Trustee is authorized to take any actions that are reasonable and necessary

to effectuate the sale of De Minimis Assets and obtain the proceeds thereof, including, without

limitation, paying commission fees to agents, brokers, auctioneers, and liquidators in connection

with such transaction.

       3.       Notice of any sale of the De Minimis Assets in accordance with the De Minimis

Transaction Procedures shall be sufficient notice of the sale of such assets

       4.       Transactions in the ordinary course of business permitted pursuant to 11 U.S.C.

§ 363(c)(1) shall not be subject to this Order or the De Minimis Transaction Procedures, and the
        Case 20-60030 Document 225 Filed in TXSB on 07/10/20 Page 5 of 6




Debtors are authorized to conduct such transactions without further Court approval.

        5.        De Minimis Transactions shall be deemed authorized pursuant to the terms of

this Order and no further or additional waivers of the fourteen-day stay of Bankruptcy Rule

6004(h) shall be required for the Trustee to consummate any De Minimis Asset Transaction,

subject to compliance with the De Minimis Transaction Procedures.

        6.       Nothing contained in this Order shall prejudice the Trustee right to seek Court

authorization to sell any asset under section 363 of Bankruptcy Code by separate motion.

        7.       The rights and defenses of the Trustee and any other party in interest with respect

to whether any assertion that any liens, claims, interests, or encumbrance, if any, will attach to

the proceeds of a sale of De Minimis Assets are hereby preserved

        8.       The notice procedures in the Motion satisfy Bankruptcy Rules 2002(a), 6004,

6007, and 9014.

        9.       The transactions consummated pursuant to this Order shall be binding upon and

shall govern the acts of all entities including, without limitation, all filing agents, filing officers,

title agents, title companies, recorders of mortgages, recorders of deeds, administrative agencies,

governmental departments, secretaries of state, federal, state and local officials and all other

persons and entities who may be required by operation of law, the duties of their office, or

contract, to accept, file, register, or otherwise record or release any documents or instruments, or

who may be required to report or insure any title or state of title in or to any of the property sold

pursuant to this Order; and each and every federal, state, and local governmental agency or

department is directed to accept this Order as sole and sufficient evidence of the transfer of title

to any particular purchaser, and such agency or department shall rely upon this Order in

consummating the sales contemplated hereby.
        Case 20-60030 Document 225 Filed in TXSB on 07/10/20 Page 6 of 6




       10.      The Trustee is authorized to take all steps necessary or appropriate to carry out

the relief granted in this Order, including paying those necessary fees and expenses incurred in

the sale of De Minimis Assets.

       11.      The Trustee is authorized to take all actions and execute all documents necessary

to implement the relief granted in this Order.

       12.      Notice of the Motion as provided therein is deemed to be good and sufficient

notice of such Motion.

       13.      Notwithstanding anything to the contrary contained herein, Merchants

Automotive Group, Inc. has objected to the (Trustee’s Emergency Motion for Order Establishing

Procedures for De Minimis Asset Sales [Docket No. 207] (“Objection”), which has not been

withdrawn, waived, denied, or overruled. Rather, the parties have consensually resolved the

Objection by postponement rather than substantive resolution and the merits of the Objection, if

not resolved by consent and stipulation, shall be addressed on further notice and hearing in

connection with any proposed distribution by the Trustee of the proceeds of the sale of any of the

Debtors’ assets. Therefore, nothing in this Order shall impair or moot the Objection.

       14.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Order are immediately effective and enforceable upon its entry.

       15.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.


                SIGNED THIS _____ DAY OF _____________________, 2020




                                                 CHRISTOPHER M. LOPEZ
                                                 UNITED STATES BANKRUPTCY JUDGE
